Case:17-04780-LTS Doc#:3931 Filed:08/30/23 Entered:08/30/23 10:28:56                                         Desc: Main
                           Document Page 1 of 6



                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF PUERTO RICO


 In re:                                                                   )   PROMESA
 THE FINANCIAL OVERSIGHT AND                                              )   Title III
 MANAGEMENT BOARD FOR PUERTO RICO,                                        )
                                                                          )   No. 17 BK 3283-LTS
 as representative of                                                     )
 THE COMMONWEALTH OF PUERTO RICO,                                         )   (Jointly Administered)
 et al.                                                                   )
                                                                          )
 Debtors.                                                                 )
                                                                          )
                                                                          )   PROMESA
 In re:                                                                   )   Title III
                                                                          )
 THE FINANCIAL OVERSIGHT AND                                              )   No. 17 BK 4780-LTS
 MANAGEMENT BOARD FOR PUERTO RICO,                                        )
                                                                          )
 as representative of                                                     )
 PUERTO RICO ELECTRIC POWER                                               )
 AUTHORITY (“PREPA”)                                                      )
                                                                          )
 Debtor.1
                                                                          )
                                                                          )
                   INFORMATIVE MOTION OF COBRA ACQUISITIONS LLC
                  IN CONNECTION WITH THE ORDER REGARDING COBRA
                  ACQUISITIONS LLC’S MOTION TO MODIFY STAY ORDER




 1
     The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
     digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
     (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
     Financing Corporation (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii)
     Puerto Rico Highways and Transportation Authority (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits
     of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the Commonwealth of Puerto
     Rico (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric
     Power Authority (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi)
     Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5233-LTS) (Last Four Digits of
     Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).
Case:17-04780-LTS Doc#:3931 Filed:08/30/23 Entered:08/30/23 10:28:56                                     Desc: Main
                           Document Page 2 of 6



          To the Honorable United States District Judge Laura Taylor Swain:

          Cobra Acquisitions LLC (“Cobra”) submits this informative motion (the “Motion”) in

 connection with the Order Regarding Cobra Acquisitions LLC’s Motion to Modify Stay Order

 [Case No. 17-BK-3283, ECF No. 24547] (the “Timetable Order”), which resolved Cobra

 Acquisitions LLC’s Motion to Modify Stay Order [Case No. 17-BK-3283, ECF No. 24219] (the

 “Lift Stay Motion”),1 and respectfully states as follows:

                                                  STATEMENT

          1.       As of the filing of this Motion, Cobra remains unpaid on most of the Approved

 Unpaid Invoices, amounting to more than $80 million.2 FEMA obligated funding for these

 invoices in March 2023, and PREPA is continuing to incur interest on these invoices at a rate of

 1% per month—an unfortunate waste of PREPA’s resources. Based on the nonresponsive answers

 Cobra has received to date, it appears that PREPA will continue not to pay these amounts for the

 foreseeable future. Cobra filed the Lift Stay Motion to avoid precisely this scenario and accepted

 a resolution of it based on PREPA’s representations that it would timely commit to review and pay

 the Approved Unpaid Invoices.

          2.       Unfortunately, as often the case, PREPA’s actions speak louder than its words.

 PREPA estimated for Cobra and the Court that it would complete its validation process for the

 Approved Unpaid Invoices and, excluding invoices PREPA determined it could pay Cobra

 immediately, submit these invoices to COR3 for reimbursement within “2 weeks” (i.e., June 28,

 2023) for approximately $62 million in invoices or “4 weeks” (i.e., July 12, 2023) for


 1
     Unless otherwise specified, capitalized terms have the same meaning as in the Lift Stay Motion.
 2
     On August 2, 2023, the Court entered an order further continuing the litigation stay applicable to Cobra’s
     administrative expense claims until October 31, 2023 [Case No. 17-3283, ECF No. 25828]. Cobra currently is
     engaged in mediation with the Government Parties to resolve the portions of its claims disputed by the Government
     Parties. However, the Approved Unpaid Invoices—on the purported basis that they are not disputed—are not part
     of the mediation.


                                                          2
Case:17-04780-LTS Doc#:3931 Filed:08/30/23 Entered:08/30/23 10:28:56                      Desc: Main
                           Document Page 3 of 6



 approximately $39 million in invoices. See Informative Motion of the Financial Oversight and

 Management Board for Puerto Rico, Puerto Rico Electric Power Authority, and Puerto Rico Fiscal

 Agency and Financial Advisory Authority Relating to Order Regarding Cobra Acquisitions LLC’s

 Motion to Modify Stay Order, dated June 14, 2023 [Case No. 17-4780, ECF No. 3754].

        3.      Those self-imposed deadlines came and went. PREPA made a partial payment of

 $10.7 in million in June, which Cobra received. In the status report filed on July 31, 2023, PREPA

 informed the Court that it had also recommended for payment an additional approximately $9

 million. Cobra, however, received only $2 million and no explanation of when the balance would

 be paid. As to the remaining invoices that have yet to be paid, in response to Cobra’s inquiries, it

 was informed that certain invoices had not been certified (notwithstanding that PREPA has had the

 invoices in question for more than four years) and that PREPA effectively had no solution to these

 missing certifications because PREPA no longer employed the relevant personnel claimed to be

 needed to certify. See Joint Response of the Financial Oversight and Management Board for

 Puerto Rico, Puerto Rico Electric Power Authority, and Puerto Rico Fiscal Agency and Financial

 Advisory Authority to the Informative Motion of Cobra Acquisitions LLC in Connection with the

 Order Regarding Cobra Acquisitions LLC’s Motion to Modify Stay Order, dated July 21, 2023

 [Case No. 17-3283, ECF No. 24793]. Cobra has asked PREPA repeatedly how it intends to solve

 this issue (which, to be clear, is of PREPA’s own making). As of the filing of this Motion, Cobra

 still has not been informed of how PREPA intends to resolve this issue and when PREPA intends

 to do so.

        4.      In short, it has been two months since this Court ordered PREPA to provide a

 timetable for reviewing the Approved Unpaid Invoices, and Cobra has yet to receive not only an

 accurate timetable, but any revised timetable at all. PREPA was contractually obligated to review




                                                  3
Case:17-04780-LTS Doc#:3931 Filed:08/30/23 Entered:08/30/23 10:28:56                    Desc: Main
                           Document Page 4 of 6



 these invoices within days, not years, of receiving them. But as with its contractual obligations,

 so too here: PREPA acts with impunity. Rather than straight answers and clear timelines, Cobra

 has been met with derision and accusations, as if the delay was Cobra’s fault and that Cobra did

 not perform hundreds of millions of dollars of work for PREPA over four years ago for which it

 remains uncompensated.

        5.      Cobra is available should the Court have any questions on the foregoing.



                           [Remainder of page left blank intentionally]




                                                 4
Case:17-04780-LTS Doc#:3931 Filed:08/30/23 Entered:08/30/23 10:28:56                 Desc: Main
                           Document Page 5 of 6



WHEREFORE Cobra respectfully requests that the Court take notice of the foregoing.

Dated: August 30, 2023

Respectfully submitted,


/s/ Carlos R. Rivera-Ortiz
Rafael Escalera Rodríguez (No. 122609)       Ira S. Dizengoff (pro hac vice)
Sylvia M. Arizmendi (No. 210714)             Abid Qureshi (pro hac vice)
Carlos R. Rivera-Ortiz (No. 303409)          Philip C. Dublin (pro hac vice)
REICHARD & ESCALERA, LLC                     Zach D. Lanier (pro hac vice)
255 Ponce de León Avenue                     AKIN GUMP STRAUSS HAUER & FELD LLP
MCS Plaza, 10th Floor                        One Bryant Park
San Juan, PR 00917-1913                      Bank of America Tower
Telephone: (787) 777-8888                    New York, NY 10036
Email: escalera@reichardescalera.com         Tel: (212) 872-1000
        arizmendis@reichardescalera.com      Fax: (214) 872-1002
        riverac@reichardescalera.com         Email: idizengoff@akingump.com
                                                     aqureshi@akingump.com
                                                     pdublin@akingump.com
                                                     zlanier@akingump.com

                                             --and--

                                             Scott M. Heimberg (pro hac vice)
                                             AKIN GUMP STRAUSS HAUER & FELD LLP
                                             2001 K Street, N.W.
                                             Washington, DC 20006
                                             Tel: (202) 887-4000
                                             Fax: (202) 887-4288
                                             Email: tmclish@akingump.com
                                                     sheimberg@akingump.com




                                              Attorneys for Cobra Acquisitions LLC




                                             5
Case:17-04780-LTS Doc#:3931 Filed:08/30/23 Entered:08/30/23 10:28:56                     Desc: Main
                           Document Page 6 of 6



                                 CERTIFICATE OF SERVICE

    The undersigned certifies that on this date he electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system which will send notification of such filing to the attorneys

 of record.


                                                     /s/ Carlos R. Rivera-Ortiz

                                                     REICHARD & ESCALERA

                                                     Carlos R. Rivera-Ortiz
                                                     USDC No. 303409
                                                     riverac@reichardescalera.com

                                                     255 Ponce de León Avenue
                                                     MCS Plaza, 10th Floor
                                                     San Juan, Puerto Rico 00917-1913

                                                     PO Box 364148
                                                     San Juan, PR 00936-4148
                                                     Tel: (787) 777-8888
                                                     Fax: (787) 765-4225




                                                 6
